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' s inimmutii:)n iu iciemify yunis case

 

Ur\iied Staxes Bankmpicy Court for iiie:

 

~'>:,"= ’ .‘~ i" n y 4
Nonhem Districioi indiana ‘” ~‘ 9 " 2 z f §§ §"3
Case number w’ Chapter you are filing under: _ ` _ d
Chai>*€*"' ` " ii f . k “~
§ m Chapier 11 . ` j
;; m Chapier 12 ‘ . '”
m Chame{n m Checi< if this is an

amended fiiing "

 

,Ofiiciai Form "|O'i
Vuluntary Petition for ludividuals Fiiing for Bankruptcy iam

Ti“m bankruptcy forms usa you and i>ebior 1 w refer to a debtor filing miami A hurried umwa may file a bankruptcy case iogemm-»caiiad a
joint casMnd injoin! cases, these forms use you to ask for in¥m'mation from both debwrs. Foi' exampie, if a form asks, “Do you own a car,"
the answei' wouid be yes if eitmr debtor owns a car. When infomiation is needed about the spouses separawiy, the form uses Debwr 1 and
war Zto distinguish between tham. in joint eases, one of the spouses must report infurmatioh as Debior 1 and the other as Debtor 2. "i`he
same person mt be Debior 1 iii ali of the imms`

E»e as complete and accurate as possible if two married peopie am iiiing togetiie>r. both are equain responsibie for suppiying correct

information if more space is needed, attach a separate sheet to this form On the top of any additional pages. write your mma and case number
(if known). Niswer way question

 

Pa.ri‘ '!: identify Ycuweif

   

 

z Abmzt Dehwr 12 Aboui Debwr 2 {Spi)use only in a Joim Case):
1. Your fuii name

Write the name that is on your ~
govemment-issued picture Eddte

 

 

 

identificaiion (for exampie, WS‘ name F*'Si name
your drivei”s license oi' Lamonf
passpoit). Middie name Middie name
Bring your picture Gla$p\i'
identification to your meeting LSS! name LBS! name
with the trustee
Suifix (Sr.. .ir,. ii, iii) Sufiix (Sr.. Jr.. il, iii)

 

:, 2. Aii other names you

 

 

 

 

 

 

 

 

have used in the last 8 mm name mm name
years
include your married or Middie name Mimiie name
maiden names.
Lasi name Lasi name
Fifsi name Firsi name
Middie name Middie name
i.asi name Lasi name
f a. only the last 4 digits of
; your social security XXX ~ XX ~ _..Q~. ,...§.. __;L. m§~.. xxx ~ xx -~ m__ “____~ m__ wm
number or federai on ca
individual Taxpayer
identification number 9"’< *‘ XX “~___ ._~._. _..._. -~._ 9>0< - XX -W 1_.1_ \__11_ ____
(iTlN)

 

Oificiai Fc)rm 101 Voiuntary Petiiion fur imiwduais Filing for Bankrupicy page 1

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wm Eddie Lamont 613st

 

Fi¢sa Nsme Midde Name

me Name

Case number wsz

 

§ 4. Any business names

' and Emp¥oyer
identificatinn Numbers
(ElN) you have used in
the last 8 years

\nclude trade names and
doing business as names

Abou! er 1:

m \ have not used any bus§ness names of E|Ns_

Abc>ut Debmr 2 (Spouse Only in a Joint Case):

m l have not used any business names or E!Ns.

 

Business name

Buslness name

 

Business name

Business name

`§H`“

§E€"“

 

1 s. Where you iive

4410 Spatz Ave

if Debwr 2 lives at a different address:

 

Number Street

Number Stree!

 

 

 

Fort Wayne !N 468()6
City Staxe Z\P Code City Siate ZIP Coda
Aiien
Coumy Coumy

if your meaning address is different from the one
above, iii it in here. Note that the conn will send
any no!ices to you at this maiting address

if Debtor 2'$ mailing ad¢h'ess is different from
yours, fill it in hem Note that the court wm send
any notices to this maiting address

 

Num!)er Street

Number Si)'eet

 

 

 

P.O. Box P.O. Box
cny stare ch code Ci!y S\afe Z\P Code
' s. Why you are choosing Check one: check ones

this distric¥ m fi!e for
bankruptcy

§§ Over the last 180 days before filing this petition
l have lived in this district longer than in any
other district

 

 

 

 

 

m Over the \ast 180 days before wing this petition
l have lived in this district §onger than in any
other district.

 

 

 

 

 

 

fo`¢cial Form 101

Voluntary Petition for individuals Filing for Bankmptcy page 2

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Dobtor 1

Flrst blame

Middie items

Glaqnv

LRS{ N§m&!

Case number wm

Tel| the Court mut Your Bankrupt¢y Caoe

 

 

 

 

 

 

 

 

 

 

 

 

 

 

7_ Tho chapter 05 the Check one. (For a brief description of each. see Noiioe Required by 17 U.$.C. § §42(!)) for lndividuais F:?ing
ga“kruptcy code you for Bankmprcy (Form 2010)). Also. go to the top of page 1 and check the appropriate box.
are choosing to file
under E Chapter 7
13 Chapter 11
L_.l Chapter 12
L'.! Chapter 13
8. Hnw you wilt pay the fee C} 1 witt pay the entire fee when 1 fite my petition Please check with the cieri<’s oifico in your
iocal court for more details about how you may pay. Typicaiiy. if you are paying the fee
yourself, you may pay with oash. oeshior's oheck, or money order. lf your attorney is
submitting your payment on your behaif, your attorney may pay with a credit card or check
With a pre-printed address
a i need to pay the fee in installments lt you choose this option, sign and attach the
Applicarron for Indiw`duals to Pay The Fr`fing Fee in Installments (Oliiciai Forrn 103A).
ill l request that my fee be waived (You may request this option onty if you are filing for Chapter 7.
By law, ajudge may. but is not required to. waive your fee. and may do so onty if your income is
less than 150% of the official poverty line that applies to your family size and you are unable to
pay the fee in installments). lf you choose this option, you must tilt out the Application to Have the
Chapter 7 Fiiing Fee Waived (Off\ciol Form 1038) and iiie it with your petition
9. Ha\re you H¥ed for [] m
”a““*“i"°’»?”"“‘“ “`° o its sum women mt 03115/2<)17 use mm
wsi 3 years` h MM/ oo/YYYY
Di$!i'i€! Wh£il‘\ CBSG tillmth __,m
MM/ oD/vav
Distrir:t When Case number
MM/ oo 1 YYYY
io. Are any bankruptcy w No
cases ndi or bet
mata bsi $p:gse wh:;?s m Ves. Debtor Relationship to you
mt wing mss case Wm" Disrnct Wnon Case number. if known
yCU, Gl' by 3 bUSIn€SS MM / go ,'Y\;Yy
partner. or by an
affiliate?
Debtor Relationship to you
Distnct When Case numbor, ii known
MM / oo / vva
11» D°_Wu rent your E'i No. co to zane 12.
res'den°e? m Yes. Has your landlord obtained an evictionjudgment against you?

Oft"rcial Form 101

111 No. Go m line 12.

m Yes. Filt out understatement About an Evr`r:tion Judgment Against You (Form 101 A) and file it as
part of this bankruptcy petition

Voiuntary Petition for lndividuals l-‘iiing for Bankruptcy page 3

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Deotor 1 Eddl€ Lamont Gla$p\[ Case number tamm
nw rim

 

Middlo Nome Lesi Narne

import About Any Busimsee You Ovim as a S»eie Froprietor

 

12- iam you a 5019 Pmp¥`iet°l' m No. Go to Part ii1
of any fuli~ or part~tin'ie
business? Ves. Name end location of business

A sole proprietorship is a
business you operate as an
lndividuel. end is not a Name of ws§“ess' if any
separate legal entity such as

pfé>rporation. partnership or Numw guam

 

 

li you have more then one
soie proprietorship use a
separate sheet and attach it
to this petition

 

 

City Stzite ZlP Code

Cher:k the appropriate box to describe your business

m Health Care Business (es defined in 11 U.$.C` § 101 (27A))
m Singie Asset Reel Estate (as defined in 11 U.S.C. § 101 (51 B))
Cl stockbroker las denied in 11 u.s.c. § iot(szA))

Cl commodity aider las defined in ii u.s.c, § 101 tell

m None of the above

 

13. Ai'e you filing under lfyou are ming under Chapter 11, the court must know whether_you are a smal! ousmess debtor so that it
Chapte;» 11 gf me carl set appropriate deadlines li you indicate that you are a small business debtor. you must attach your
gankmpmy ama and most recent balance sheet statement of operations cesh»fiow statement and federal income tax return or if
are you a Sm” business any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(8),

debtor?
For a definition ot small

business debtor. 568 n No. l am filing under Chapter 1‘l. but l am NOT a small business debtor according to the definition in
'i`l U.S.C~ § 101(510). the Banl-iruptcy Cocie.

E No. l am not filing under Chapter 11.

m Yes. l am nling under Chapter 11 and l am a small business debtor according to the definition in the
Banltruptcy Code.

art et

   

Report if You born or Have hay Hazardoue Property or ivy Property ‘ftiat Neede immediate intention

 

14. Do you own or have any m No
ro rt that ` ses or is
§“e§:dym p°.;;oa threat o Yes. What is the hazard?

 

of imminent and
identifiable hazard to

 

public health or safety?
Or do you own any

property mm ne ads lf immediate attention is needed why is it needed'?

 

immediate attention?
For example do you own

 

perishable goods or livesi‘ock
mar must Be ?ed. or a inuan
that needs urgent repaiis?

Where is the property?

 

Numoer Slreet

 

 

city state zip code

folcial Forrn 101 Voiuntary Petition for individuals Filing for Banltruptcy page 4

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Debtor 1 ~
Firsi Namu

Middle Neme

Glasnv

last blame

Case number comm

` ran s= captain vein scores w newth a enaan Aaaut mean estimating

 

15. “i“eii the court whether
you have received a
briefing about credit
counseling

The law requires that you
receive a briefing about credit
counseling before you tile for
bankruptcy You must
truthfully check one ot the
following choicesl lf you
cannot do so. you are not
eligible to file,

if you file anyway the court
can dismiss your case. you
will lose whatever filing fee
you paid. and your creditors
can begin collection activities
again

Oflicial Form 101

Aboutilebtor‘l:

You must check ones

`B-l received a briefing from an approved credit

counseling agency within the 180 days before l
filed this baruimptcy petition and l received a
certificate of compilation

Attach a copy of the certificate and the payment
plan. if any. that you developed with the agency

Fl received a briefing from an approved credit

counseling agency within the 130 days before l
filed this bankruptcy petition but l do not have a
certificate of completion

Within 14 days after you file this bankruptcy petition
you MUST tile a copy of the certificate and payment
plan. if any.

m l certify that l asked for credit counseling

services from an approved agency but was
unable to obtain those services during the 7
days after l made my request and exigent
circumstances merit a 150-day temporary waiver
of the requirement

To ask for a 30~day temporary waiver of the
requirement attach a separate sheet explaining
what efforts you made to obtain the brieling. why
you were unable to obtain it before you filed for
bankruptcy and what exigent circumstances
required you to lite this case.

Your case may be dismissed if the court is
dissatished with your reasons for not receiving a
briefing before you filed for bankruptcy

lf the court is satisiied with your reasons you must
still receive a briefing within 30 days alter you tile.
You must file a certificate from the approved
agency along with a copy of the payment plan you
developed if any. lf you do not do so, your case
may be dismissedl

Any extension of the 530-day deadline is granted
only for cause and is limited to a maximum of 15
days

m l am not required to receive a briefing about

credit counseling because cfr

m incapacity l have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances

m Disabiiity. le physical disability causes me
to be unable to participate in a
briefing in person by phone, or
through t `

reasonably tried to do so.

m At:tive duty. l am currently on active military

duty in a military combat zone.

if you believe you are not required to receive a
briefing about credit counseling you must tile a
motion for waiver of credit counseling with the couri.

Voluntary Petition for individuals Fiiing for

About bebtor 2 {Spouse only in a loint Cose):

You must check one:

13 i received a briefing from an approved credit
counseling agency within the 180 days before l
filed this bankruptcy petition and l received a
certificate ol' completion
Attach a copy of the certificate and the payment
plan. if any. that you developed with the agency

l:] l received o briean from an approved credit
counseling agency within the 189 days before l
filed this bankruptcy petition but l do not have a
cartilicate of completion

Wi'thin 14 days after you file this bankruptcy petition
you MUST file a copy of the certificate and payment
plan. ii any.

m l certify mat l asked for credit counseling
services from an approved agency. but was
unable to obtain those services during the 7
days after l made my request, and exigent
circumstances merit a rib-day temporary waiver
cf the requirement

To ask for a BO~day temporary waiver of the
requirement attach a separate sheet explaining
what eliorts you made to obtain the briefing why
you were unable to obtain it before you filed for
bankruptcy and what exigent circumstances
required you to tile this case

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
brieth before you filed for bankruptcy

if the court is satisfied with your reasons you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency along with a copy of the payment plan you
developed ii any. if you do not do so. your case
may be dismissed

Any extension of the 30~day deadline is granted
only for cause and is limited to a maximum of 15
days.

13 l am not required to receive a briefing about
credit counseling because ot:

m incapacity l have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances

l;.i Disability. My physical disability causes me
to be unable to participate in a

briefing in person. by phone, or

reasonably tried to do so.

m Active duty. l am currently on active military
duty in a military combat zone.

if you believe you are not required to receive a
briefing about credit counseling you must tile a
motion for waiver of credit counseling with the court

Bankruptcy page 5

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Debtor1 Eddl€ Lam(zwnz GlaSDV Case numberwtrmm

Flrst Neme M§ddl test limits

Anewer Th»ese inventions for narrowing Furposes

 

16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 u.S.C. § 101(8)
ss “inourred by en individual primarily for a personal famiiy, or heueehoid purpose."

ill Noc emoran isn
3 Yes. Go to line 17`

ts. What kind of debts do
you have?

isb. Are your debts primarily business debts? Business debts are chath that you incurred to obtain
money for a business or investment or through the operation of the business or investment

lZi No. emoran iec.
13 ves. carolina 11

‘l 6c. State the type of debts you owe that are not consumer debts or business debts

 

 

11. life you filing under

Chap;er 7? la No. l am not wing under Chapter 7. Go to line 18a

no you estimate that after w Yes. l am filing under Chapter 7. Do you estimate that after any exempt property is excluded end

any exempt property is administrative expenses are paid that funds will he available to distribute to unsecured creditors?
excluded and m m

administrative expenses

are para that funds wm be 53 Yes

available for distribution
to unsecured creditors?

 

 

1a How many creditors do U 1-49 113 r,ooo~s.ooo ill 25.001»50,000
yml estimate that yvu ill 50-99 ill 5.00140,000 L`:l 50.001~100.000
°We? 13 morse ill 10,001-25.000 ill wore man 100.000
ill 200-999
m now much do you CI so-sso.ooo ill sr.ooo.om~sro mmth EJ ssoo.om,ooi-si billion
estimate your assets 10 23 sso.om-$iot),ooo 113 sro.ooo.om-sso million Ei si.ooo,mo,om-sio billion
be W°'*h? Cl sioo.oot-ssoo.ooo ill sso,ooo,oor-sioo million C] sio,ooo,ooe.ooi-sso billion
ill ssoo,ooi-si million ill sioo,ooo,ooi~ssoo million El More man ssa billion
zo. now much do you E]~so-sso.ooo ill si,ooo.ooi~sro million E;i ssoo,ooo.ooi s1 billion
e$fim“l€ limit liabilities @ sso.om»sioo,ooo ill sto,ooo.oot-sso million ill si,ooo.ooo,ooi-sio billion
w be? ill siou,om-ssoo,ooo Cl sso.ooo.ooi.sioo manion Cl sto.ooo,ooe.ooi-sso bruton
ill sseo.ooi-si million Cli sroo.ooo.ooi-ssoo million CJ More than 350 billion

err M-
y l have examined this petition and l declare under penalty of perjury that the information provided is true and
F°l' you correct

lf l have chosen to file under Chapter 7. l am aware that l may proceed ii eligible under Chepter 7. 11.1 2, or 1 3
of title 11. United States Code. l understand the relief available under each chapter, and l choose to proceed
under Chspter 7.

if no attorney represents me and l did not pay or agree to pay someone who is not an attorney to help me fill out
this document l have obtained end reed the notice required by 11 U,S.C. § 342(b).

l request relief in accordance with the chapter of title l`i, Linited Steles Code, specified in this petition

 
    

 
  

   
 

   

     

i.m,r_

       

with a bankruptcy case can result in lines up to $250,000. or imprisonment for
18 U.S.C. §§ 152. 1341 1519, and 357`\.

x /¢~/ié fifi§”t//M{f%}/p x

. , , .
up to 20 years or hoth.

 

 

\J

Signature of Debtor 1 “ ` Signature of Debtor 2
l . `»
Executed on l&i" ]2-' /L(-)i 7 Executed on _____,______________,
MM l DD l YYYY MM l DD / YVVY

 

Offrcial Form 101 \!oluntary Petition for individuals l-“iling for Benkruptr.:y page 6

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Oebiorl Eddle Lamont GIBSDV Case numbe:mmm

F`rrsl Name Middie Name las mims

 

l. the attorney for the debtor(s) named in this petition declare that l have informed the debtor(s) about eligibility
to proceed under Chapler 7. ’li. 12, or 13 of title ‘l`l. Unlted Slales Cocle, and have explained the relief
available under each chapter for which the pea'son is eligible. l also certify that l have delivered to the debtor(s)
the notice required by ll U.S.C. § 342(!)) and, in a case in which § 707(!))(4)(13) applies, certify that l have no
if you am “Di WPTGS€HUC‘ knowledge after an inquiry that the information in the schedules filed with the petition is incorrect

by an attorney you do not

Foi“ your attorney if you are
represented by one

 

 

 

 

 

 

 

 

need to i’ile this page. x
Da\e
Signam:e of Anomey for Dal)`zor MM l DD IYYYY
l>rinleo name
Flrm name
Numbor Sueei
Clty Stale ZlP Code
Coniacl phone Email address
Bar number Sxato

 

 

Ofiicial Form 101 Voluntary Petition fm individuals Fillng for Bankruptcy page 7

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Debtor l Edd\e lamont Glaspv Case number crown

First Nams Middio Namo Laat flame
For you if you are filing this Tho law allows you. as an individual, to represent yourself in bankruptcy court out you
bankwp¥¢y With°m an should understand that many people find it extremely difficult to represent
attorney themselves successfully Because bankruptcy has lortg»term financial and iegal

consequences you are strongly urged to hire a qualified attorney

lf you are represented by
ah attorney you do not To be successful. you must correctly file and handle your bankruptcy case, The rules are very
need w me this page_ technical. and a mistake or inaction may affect your rights For example your case may be

dismissed because you did not file a required document pay a fee on time, attend a meeting or
hearing, or cooperate with the court, case trustee U.S. trustee. bankruptcy administrator. or audit
firm if your case is selected for audit lf that ha[;)pensl you could lose your right to file another
case. or you may lose protectionsl including the benefit of the automatic stay

You must list all your property and debts in the schedules that you are required to file with the
court Even if you plan to pay a particular debt outside of your bankruptcy you must list that debt
in your schedules if you do not list a debt the debt may not be discharged if you do not list
property or properly claim it as exempt you may not be able to keep the property The judge can
also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
case. such as destroying or hiding property falsifying records or lying. individual bankruptcy
cases are randomly audited to determine if debtors have been accurate truthful, and complete
Bankruptcy fraud is a serious crime; you could be fined and imprisoned

lf you decide to file without an attorney the court expects you to follow the rules as if you had
hired an attorney The court will not treat you differently because you are filing for yourself. To be
successful. you must be familiar with the United States Bankruptcy Code, the Federal Rules of
Bankruptcy Procedure, and the local rules of the court in which your case is fried You must also
be familiar with any state exemption laws that apply

Are you aware that filing for bankruptcy is a serious action with long~term financial and legal
consequences?

m No

§ ‘l(es

Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
inaccurate or incomplete you could be fined or imprisoned?

m No
m Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?
No

m Yes. blame of Person t
Attach Benkruprcy Peir?ion Preparar‘s Norice, Declalailon, and Signatwe (Official Form 119).

 

By signing here. l acknowledge that l understand the risks involved in filing without an attorneys l
have read and understood this notice and l am aware that filing a bankruptcy case without an
attorney may cause me to lose my rights or property if l do not properly handle the case.

X we grew if

l /,l

 

 

 

 

 

 

 

Slgnature of Debtor l §on 9
Date fZ'[/ZZ;J// Date
MM/DD /YYYY MM/ DD lYYYY
Contact phone Contact phone
Cell phone Cell phone

€moii address Emaii address

 

 

 

Case 17-12376-reg Doc 1 Filed 12/12/17

litil in this information to identify your case end this filings

    

gebm,‘ Eddie Lamont Glaspy

First Nurne illion flame

 

Debtor 2
($Pull$u. ll lillng) Flrst flame Mdie Ncmo

 

Unitod States Bankruptcy Court for lhe: Northem District of indiana

C.ase number

 

 

Offioiai Forrri lGSA/B
Sohedule Ale Property

 

Page 9 of 21

m Check if this is an
amended ming

12115

 

in each category separately list and describe items i.isl an asset only once. if an asset fits in more than one category list the asset in the
category where you think lt fits best Be as complete and accurate as possible lt two married people are filing together, both are equally
responsible for supplying correct information if more space is needed attach a separate sheet to this form. On the top of any additional pages

write your name and case nuran Gi known). Answer every question

Part 1: Doscribe anh desidenr:o. Building, Land,, or other Real Estate Vou Own or Have an interest in

 

1. 00 you own or have any legal or equitable interest in any residence building land, or similar property?

m No. Go to Part 2.

Yes. Where is the property?
What is the property? Cneck all that apply

§ Single-iamily home

m Duplex or multi»unit building
m Condominium or cooperative
m Manulaclured or mobile home

n 1924 Embassy Drive
Strcet address if available or other description

 

 

 

 

 

m Land
ron Wayne iu asst s § "T"es"“e’“ p*°‘”'i"y
Clly State ZlP Code T'meshare
ill other
Who has an interest in the property‘? check one
Allen w Debtor 1 only
County m Debtor 2 only

m Debtorl end Debtor 2 only
m At least one of the debtors and another

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Scnewle D:
Credilors Who Have Claims Secured by Properiy.

Current value of the Current value of the
entire property? portion you own?
$ 95,ooo.oo 3 ss,ooo.oo

 

Describo the noone of your ownership
interest (such as fee simple tenancy by
the entireties or a life estate), if known

Buying

 

El check travis is community property
(see instructions)

Other information you wish to add about this item, such as local

property Mentincation number

 

if you own or have more than one. list here:
What is the property? Check all that apply
m Single~family horne

1.2. .A . .
Street address ii available or other description m Dup*ex (?r mum unit bu"d"jg
m Condominium or cooperative

 

 

 

Do not deduct secured claims or exemptions Pui
the amount of any secured claims on $chedule D:
Credirors Wno Have Clalms $ecured by Propeny.

Current value of the Current value of the

 

 

m Manufactured or mobile home emif& Pmpédy? portion you own?
m hand 5 3
L:l investment property
~ Describe the nature of your ownership
any Sm_t§ zip Code m Timeshare ,
m O‘he" the entireties or a life estate), il known

 

Who has an interest in the property? Check ones

m Debtor 'l only
Coumy El oemor 2 only
m Debtor ‘l and Debior 2 only
m At least one of the debtors and another

 

 

m Check if this is community property
(see instructions)

other information you wish to odd about this item, such as local

property identification number:

 

Oflicial Form 106A!B Schedule NB: Property

page l

Case 17-12376-reg Doc 1 Filed 12/12/17 Page 10 of 21
Ecldie Lamont G|aspy

Fim Nnmo MdGXo Nomo

Dei)tor l Cose number lamm

l_ast stmi:

Whai is the proporty? Check ali mac apply
1 '3. ill single-family home
Slreel address il available. or other descriplion m Duplex or mulli-unil building
m Condomlnium or cooperative

Do not deduct secured claims or exeinplloos. Pul
me amoum ol any secured claims on Scheciule D:
Crodi!ors Who Have Claims Secured ny Property.

 

Currem value of the Cw'rent value of the

 

 

 

 

 

 

entire lampert l pm'tioh own?
m Manufaciufed or mobile home ya you
m Land $ $
0 lnves!menl property _ v
City slate zip C°de m T;meshare Doscnbe the nature of*your ownership
interest (such as fee simpie, tenancy by
m 0"“3' the emirelios, or a life esiaie), if known
Who has an interest in the pmpeity? Check one.
m Debior‘l only
County

m Debtor 2 only
m Debtori and Deblor 2 only
m At least one oi the debioi“s and anothei

13 Check if this is immunity properly
(see instructions)

mims information you wish to add about this `rlem, such as local
property identification number:

 

 

2k Add the dollar value of the portion you own for all of your entries from Pon 1, including any entries for pages

 

 

 

Po.rt '?,: Describe Your Vehicles

 

Do you own, lease, or have iegal or equitable interest in any vehicles, Whother they are registered or not? lnclude any vehicles
you own thai someone else drives. if you lease a vehicie, also report il on $chedulo G: Execmow Conlracl$ and Unexpirod Leasesl

3. Cars, vans, trucks, tractofs, sport mility vehicios, mo%orcyclos

§ No

i:l Yes

31 Make; Who has an interest in the proporty? Cnocl< ono. 00 m dam seemed claims mexemmm$_ pm
{ m loeth 1 the amount of any secured claims on $chedu#o D:
Model: °“'y makers wm Have com secured by Prapeny.
Year` m Deblor 2 only

Approximate mileage:

Olher information

 

 

ll you own or have more than ono, describe hofer

m Debtorl and Debtor 2 only
m At least one ol the debtors and another

E] Cheok if this is community properly (see
insiructions)

Cum:m value of the Curren£ vaiue of the

entire pmme portion you own?

 

 

 

3_2` Make: Who has an interest in the pinporty? check one. no m deduct seemed mims N exmm;°ns, pm
the amoun! ol any secured claims on $chedu!e D:
Model: § Deb‘°' 1 °“‘Y credms no ai
v id DeEfor § only ~
eaf= m Curront value of the Currorit value of the
Del)tor l and Deblor 2 only
. , _ entire on ? portion ou own‘?
Appfox'mme m"ea§e' [] At least one of the debtors and another map y y
Olhel' information:
» $ 3

l
i

 

§

Ollicial Form lDiSA/E

m Check if this is commnity property (see
instructions)

Schedule AlB: Proporty

 

page 2

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Deblorl Eddie Lamont Giaspy Case number umwa
Flrs! frame Mldd$e Neme Lnst Name
3 3 Make: Who has an interest in the property? Check one.
Mode|: m Debtor 1 only
m Debtor 2 only
Year:

Approximate mlleage:
Omer information:

 

 

 

 

3_4, Make:
Model:
Year:
Approximate mileage:
Other lnformation:

 

 

m Deblor 1 and Debtor 2 only
m A! least one of the deblors and another

m Check if this is commnity property (see
lnstructions)

Who has en interest in the property? Cneck one.

m Debzorl only

m Debtor 2 only

m Debxor 1 and Debzor 2 dnly

m At least one of the debtors and another

C] Check if this is community property (see
lnstructions)

 

D»o nol deduct secured claims or exemmlons. Purl
me amount of any secured claims on Schedure D.~
Credirors Who Have C!aims Secared by Propeny.

Cur'rent value of the Current value of the
entire prooerty? portion you own?

Do nor deduct secured claims or exemptions. Pux
me amount of any secured claims on Schedule D:
Credr`zors Who Have Clz)ims Secured by Property.

Current value of the Cw'rem value of the
entire pmme portion you own?

4. Waterr:raft. aircraftl motor homes. ATVs and other recreational vehicles. other vehicles, and accessories
Examp£es: Boals, trailers. motors. personal watercraft fishing vessels. snowmobiles, motorcycle accessories

m No
Q Yes

441 Make:
Model:
Year:
Otner lnformetion:

 

l

§
§
§
z
$

 

ll you own or have more than one. list here:

4.2x Make:
Model:
Year:

Other lnformalion;

 

 

 

 

Who has an interest in the property? Cneck one
m Debtor 1 only

m Debtor 2 only

m Deblor 1 and Deblor 2 only

m At least one of the debtors and another

n Check if this is community property (see
lnstmclions)

Who has an interest in the property? Check one
m Debtorl only

C] never 2 only

m Debtor 1 and Debtor 2 only

m At least one of the debtors and mower

m Check if this is community property (see
lnslructions)

Do not deduct secured claims ar exempzions. Pui
the amount of any secured claims on Schedule D:
Credirors Who Have C.laims Secwed by Pmpeny.

Cun“eni value of the Current value of the
entire property? portion you own?

Do nor deduct secured claims or exemmions. Pux
the amouni of any secured alarms on Schedurle U.~
Credirors Who Have Claims Secured by Propmy.

Current value of the Current value of the
entire property? portion you own?

 

5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
you have attached for Par! 2. Wrilo that number here ............................

Oflicial Form lOEA/B

schedule NB; Propeny

9

 

 

 

 

page 3

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Dehlor 1 Eddie Lamom G,aspy Case number mem

 

 

Flrsl blame Middla Name Lesl flame

Daseride Vom' Pelrsonal and Household name

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

no you own or have any legal or equitable interest in any of the rendering items'? §oum;:;mgw
00 not deduct secured claims
or exemptions
13. Ht)usehold goods and furnishings
Examples: Major appliances, furniture linens, china. kitchenwere
a No 1 1
m Yes. Descril)e ......... » s
“i. Electrnhics
Exemples: Televisions and radios; audio, video. stereo and digital equipmenl; compulers. printers, scanners; music
collections; electronic devices including cell phones, cameras. media players, games
m No ,
m Ye$~ D@S°"be Cell phone.1.32 inch tv. Computer s . 11590__.1_1-90
a Collectibles of value
Exemples: Amiques and ligurlnes; paintings prinls, or olher arlwork; books pictures or other an objects
stamp coin. or baseball card collections; other collections. memoral>llia. collectibles
No ,. c
53 Yes. Describe .......... 5
9 Equipment for spans and hobbies
Exampies: Sporls. photographic exercise and other hobby equipmeni: bicycles, pool tables golf clubs, skis; canoes
and kayalrs; carpenlry tools; musical instruments
No 1
E] Yes. cessan .......... s
10. Firearms
Examp!es: l>ismis. rilles, shotguns, ammunition and related equipment
E No § z
E] Yes. Describe .......... 5
11.Clothes
Examples: Everyday clothes, furs. leather coals, designer wear, shoes, accessories
ij No l
a Y€S. DE!SCl'ib€ .......... Evefyday do{hes_ Shoeg` 3 1,00{}.00'
12 dewelry
£xamples: Everydayjewelry, costumejewelry. engagement rings wedding rings heinon jewelry watches, gems.
gold silver
a No : 41
Cl ves» easean .......... s
13.Non-i'am1 animals
Examples: Dogs. cals. hirds. horses
a No
l,’} vw mm b
14. Any other personal and household items you did not already list, including any health aids you did not list
13 No
m Yes. Give specific l s
information
15. Add the dollar value of ali of your entries from Part 3 including any entries for pages you have attached $ z 500_@
for Pan 3 write that number here ................................................................................................................................................... '-)
Oiliclal Form “lO$A/B Schedule NB: Froperty page 4

 

 

 

 

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umw Edclie Lamont Glaspy

Case number tamm
Fir:it blame Mirldle Namo Lnst Nnma

 

Bo u own or have an t or unable interest in an of the followin ? Currem \*aiue of the
Y° y 5999 eq y 9 pnmon you m?
Do not deduct secured claims
or exemptiona
ts.Cash
Examples: Money you have in your wallet. in your home, in a safe deposit box. and on hand when you tile your petition
a No
Yes ................................................................................................................................................................ Cash: ___________________ s

171 Deposits of money

E'xamplos: Checking, savings or other financial accounts; certificates of deposit shares in credit unions. brokerage houses
and other similar institutions lf you have multiple accounts with the same institution list each.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

m No
L_..l Yes ..................... institution name:
17.1. Checking account: 3
17.2\ Checking account 3
17.3. Savings account: $
17,4. Savings account: 3
17.5. Certilicates ot deposit 5
17.6. Other financial account $ _
17.7, Gther financial account g
17,8. Other financial account §
17,9. Other linancial account: s
18. Bonds, mutual funds, or publiciy traded stocks
Exampl'es: Bond funds. investment accounts with brokerage nrrns. money market accounts
§§ No
m Yes ................. lnstitution or issuer name:
$
$
$
19. Non»publicly traded stock and interests in incorporated and unincorporated businesses including an interest in
an LLC. partnership, andjoint venture
m No Name of entity: % ot ownership:
m `Yes. Give specific O% %
informatron about o¢y
them.m l ° % $

 

 

o%%

Official Form 106A!B Schedule AIB: Property page 5

newton Ecldie Lamont Glaspy

First Neme

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Case number mm
Middle Narno Losr Nan'»e

zot Goverrunent and corporate bonds and other negotiable and non~negoneble instruments

Negotiabl'e instruments include personal checks cashiers’ cneclts, promissory notes. and money orders
Non~negotiable instruments are those you cannot transfer to someone by signing or delivering them

mile

9 Yes. lee specific
information about

issuer name:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

them ....................... $
S
$
21. Retirement or pension accounts
Examples: interests in lRA. ER\SA. Keogh, 401(l<), 403(b), thrift savings accounts or other pension or protit~sharing plans
E mo
13 vest usi each
account separately Type of accounts institution neme:
401(k) or similar plan: $
Pension plan: 3
lRA: $
Retirement account $
Keo_o,n: $
Additionai account $
Addltionai account: $
22. Secuzrity deposits and prepayments
Your share of ali unused deposits you have made so that you may continue service or use from a company
Examples: Agreements with landlordsl prepaid rent, public utilities (electric, gas. water), telecommunications
companies or others
ca No
13 Yes .......................... institution name or individual:
El&€i!ic: §
Gas: 3
treating oil; 5
Security deposit on rental unit: 5
Prepaici rent: $
T&lephone: 3
Water: S
Rented furniture 3
Other: $
23.Annuities (A contract for a periodic payment of money to you. either for life or for a number of years)
ia No
m Yes .......................... issuer name and description
ii
$

Oft‘lcial Form iOSA/B

schedule Are: property

page 6

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Dem, 1 Eddie Lamorit Glaspy case number W,M
First Namo Midc$o flame wsi flame

 

 

24.interests in an education lRA. in an account in a quaiitiod ABLE program or under a qualitiod state tuition program
25 U.S.C. §§ 530(b)(`l), 529A(b). and 529(b)(‘l)i
§ No
[] Yes ....................................

institution name and description Separateiy iiie the records of any imerests.ii U.S.C. § 521(c):

 

 

 

 

 

 

 

 

 

 

 

3
$!
25.Trusts, equitabie or future interests in property (other than anything listed in lino 1). and rights or powers
exercisable for your benefit
E No
Q Yes. Give specific g
information about them..,. $
26. Patents, copyrights trademarks trade secrets and other intetiectual property
Examples: lntemet domain names Websites. proceeds from royalties and licensing agreements
E No
L:l Yes. Give specific § 1
information about them..v.§ $
27. Lioenses. franchises and other general intangibies
Exampies: Buiiding permits exclusive licenses cooperative association holdings liquor licenses professional licenses
m No
Ci Yes. Give specific 1 z
information abouithem....§ $
Money or property owed to you? Currem value of the
portion you own?
Do not deduct secured
mims or exemptions
za.Ta)i reitmds owed to you
E No
m Ves. Give specific information Fede,ak
about them. including whether
you already filed the returns Siaie:
and the tax years ....................... §
Locai: 3

 

 

29. Family support
Examples: Past due or lump sum aiimoriy, spousal support child support maintenance divorce settlement property settlement

@No

m Yes. Give specific iniormation..............

 

Aiimony:

 

 

 

 

$
Mainienance: 3
Support: $
Dlvorce settlement $
§ Property settlement $
30. Othor amounts someone owes you
Examples: Unpaid wages disabiiity insurance payments disability benefits sick pay, vacation pay. workers compensation
Sociai Security benefits; unpaid loans you made to someone else
§ No
m Yes\ Give specific information ...............
s

 

 

 

Oiticial Form 106AIB Schedule AIB: Property page 7

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Debtor l Eddie Lamom G|aspy Case number newell
Fk§\ N\'!m(i Middii! N{m'ie 1551 m

 

 

31 lntel*ests in insurance policies
Examples: i-leallh. disabilily, or life lnsurance; health savings account (HSA); credit, homeowner's, or renter's insurance

EN<)

13 Ves. blame the inswance company

l _ l COmpany names Beneliciery: Sunender or refund value:
ef each policy and list its value

3

 

32. Any interest in properly that is due you imm someone who has died

if you are the beneficiary of a living lmsl. expect proceeds from a life insurance poilcy. or are currently entitled to receive
property because someone has died.

ENO

L:] Yes. Give specific information ..............

 

 

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents. employment dispules. insurance claims. or rights to sue

mile

m Ves. Describe each ciaim. ...................

 

 

 

 

aa.f)ther contingent and unliquidated claims of every nature including counterclaims of the debtor and rights
to set off claims

m No
m Yes. Descril)e each claim ....................

 

 

35.Any financial assets you did net already list

No
0 Yes. Give specinc information ............

 

 

 

36. Adtl the dollar value of all of your entries from Part 4. including any entries fur pages you have attached
for Part 4. Write that number here .................................................................................................................................................... 9 S

 

 

 

Pairt S:

   

Deseribe Any Busmess»¥%eleted Property You Own or Have an interest ln. List any real estate in Part 1.

 

3109 you own or have any legal or equitable interest in any business-reinted pmperty?
E No. Go to part 6.
U \'es. Go to line 38.

 

 

Currenl value of the
portion you ewn?
00 not deduct secured claims
or exemptions
38. Aceounts receivable or commissions you already earned

ca Ne

[:i Yes. Describe .......
§$

 

 

39. Ofi‘ice equipment furnishings. end supplies
Examples: Business-relaled computers. software modems. pnnlea's, copiers. lax machines, rugs. lelepnones. desks1 chaks. electronic devices

No
13 Yes. Describe .......

 

 

 

Oflicial Fom'\ 106NB Schedule NB: Prepeny page 8

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nele Eddle Lamonr Glaspv casenumw<mm
Firs,x Nam Miodla Name well blame

 

do.Machlnery. fixtwes, acquime supplies you use in business, and wills el your trade

LHNO

13 Yes. Describe .......

 

 

dl.lnvenlory
3 No z
L`.] Yes. oesmbe`...,...§ 53

 

 

42.lnterests in partnerships orjoint ventures

ENQ

B \’v.=:ssd Descrlbe ....... Name m entity % al ownership

%
%
% $

69

 

60

 

43,Customer llsls, mailing lists, or other compilations
la No
m Yes. Do your lists include personally identifiable information (as denned in 11 U.S.C. § 101(4“\A))?
m No >
E} Yes. Descrlbe ........

 

 

44.Any business‘related pmperw you did not already list
g No

D Yes. lee specific
lr»formatlon .........

 

 

 

 

 

MMMMMM

 

 

45. Add the dollar value of all of your entries from part 5, including any entries far pages you haw attached
for Part 5. Write that mirrbe here .............................. '-)

 

 

 

 

Descrihe Any Farm~ and Commercial Fishing~kelated Property You Gwn or Have an interest ln.
ll you own or have an interest in farmland, list ll in Part ‘l.

 

 

46 Do you own or have any legal or equitable interest m any farm~ or commercial fishing~mlate~d property?
§ No Go to Part 7
13 Yes\ Go to lime 47.

 

 

Current wrale of the
00 nol deduct secured claims
or exemptions
47. Farm animals

Exanrolas: l.ivestocl<. poultry farm~ralsed fish

§ No

Yes

$ M

 

 

Olficial Form 106AIB Sclredule AIB: Properly page 9

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Demo,, Eddie l_amont Glaspy case nummlm»

 

 

First Name wmata Namo l.as! blame

48. Crops~eillwr growing or harvested

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

a No : \\\\\
13 Ves. Give specific *
information ............. s
defend and fishing equian implements machinery lixtures. and tools of trade
m No
§§ Yes .......................... §
` s
50. Farm and fishing supplies, chemicals, and feed
§§ No
m Yes ..........................
~, ~ 3
51 .Any farm- and commercial Hshingmlated properly you did not already list
m No
L_.] Yes. lee specific
information ............ 3
52. Add the dollar value of all of your emries from Part 6, including any armies for pages you have attached 3
for Part 8. Write that number here ................................................................................................................................................... -)
part 7:. nascribe All Property Vou Own or Have an lnterosi in Tlmt Ynu did flint list Above
53‘ Do you have other property of any kind you did not already lisl?
Examplos: Soason tickets country club mmhershlp
g NO w """""
§§ Yes. lee specific 3
information ...... §
$
54. Add the dollar value of all of your entries from Part 'l. Write that number here ................................................................. 9 5.....
list the Totals of Each Part of this Form
SS.Part 1: Tolal real estate, line 2 ..................................................................................................... § $M
Se.Part 2: Total vehicles, line 5 S
57.l"ari 3: “l“oial personal and household items, line 15 S__“_,__§;_So___(_)_'_e__@_
58. Part 4: Totai financial assets, line 36 $
59~ Part 5: To!al busimss-related properly line 45 S
60le 6: row farm and fishing-relaxed property line 52 3
61.¥>@1 7: Total other property not listecl. line 54 + $
Sz.iolal personal property Add lines 56 through 61. .................... §Copy personal property total ') + 3; 2'500~00

 

   

63.Total of all properly on Schedule NB. Ad<l line 55 + line 62 ..........................................................................................

    

Schedule NB: Pro»»=

,-...*......_...,....._.. .-l.

iAddA“a¢hm m

 

  

facial lowe
Pr ry v

   
 

 

 

$ 97,500.00

 

 

 

 

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lilll m mm lnl`orrr:ation to identify your r;.:t.~§e:

      

newton Edclle Lamont Glaspy
F’ustrtame mmama lMNm

    
      
  

Deblor 2
(Spouse. ll lillng) mr mm amato mm trw rim

 

      

united states Bankru;)tcy Coun for me: Northem Dlstricl of lndiana

Case number
m known)

 
 

 

 
 

m Check if this is an
amended filing

 

Olllclal Form lOEDec

 

Declaration About an lndividual bebwr's Schedules ms

lt two married people are filing togetl~ter. both are equally responsible for supplying correct in¥mt‘rtation.

 

You must file this form whenwer you file bankruptcy schedules or amended schedules. Making a false statement concealing propertyl or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341. 1519. and 3571.

-M

bid you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy lorms?

lHNo

g Yes. Name cl person . Allach Banlrmptcy Petr`tion Preparr.=r’$ Notice, Declamlion. and
S:'gnarure (Ofncial Form 1193.

liner penalty of perjury l declare that l have read the summary and schedules filed with this declaration and
that they are true and correct

Signature of Debtor 1 Slgnalure or Del)lor 2

Dale_l;?/[/£'/goi`? Dote

MM/ DD 1 YYYY MM/ DDI VYYY

 

 

 

Ollicial Fcrm ‘ll)GDec Declarallon About an lndividual Del>wr's Schedules

        

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(6/20 1 0)

UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF INDIANA

` DIV"ISION
l
Inre FO‘C)`€ (/dLC(/i`lo )
) Case No.
) Chapter
§ “7

Debtor(s)

VERIFICATION OF CREDITOR MA'I`RIX

The above-named debtor(s) verifies under penalty of perjury that the attached list of

creditors is true and correct to the best of his/her knowledge

 

Dated: 12 /!Z //,7 M%`M

Debtor

 

Joint Debtor

 

CaSe 17-12376-reg Doc 1

LUTHEMN HOSPITAL
7950 W ]BFFERSON BLVD
FORT WAYNE, IN 46804

l`-`CI LENDER SERVICES
P.O. BOX 27370
ANAHEIM, .CA §2809

PARKVIEW HOSPITAL
2200 RANDALLIA
I-`GRT WAYNE, IN 46805

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